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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SAMA CAMP, LLC,               )
                              )
     Plaintiff,               ) CIVIL ACTION
                              )
v.                            ) FILE NO.: 1:22-cv-01722-TCB
                              )
SAMA TEA, LLC; SAMA           )
WORLDWIDE, INC.;              )
SAMA BEVERAGES, LLC; 100.CO; )
JAY SHETTY; RADHI DEVLUKIA )
SHETTY, KIM PERELL; and JAMES )
BRENNAN,                      )
                              )
     Defendants.              )

      DEFENDANTS’ CERTIFICATE OF SERVICE OF DISCOVERY

      Pursuant to Local Rule 5.4, Defendants hereby certify that the following

discovery has this day been served on all parties of record:

         1.   James     Brennan’s     Responses    to   Plaintiff’s   First   Set   of

              Interrogatories;

         2.   James Brennan’s Responses to Plaintiff’s First Set of Requests for

              Production;

         3.   Kim Perell’s Responses to Plaintiff’s First Set of Interrogatories;

         4.   Kim Perell’s Responses to Plaintiff’s First Set of Requests for

              Production;
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 5.   Radhi    Shetty’s     Responses   to   Plaintiff’s   First   Set      of

      Interrogatories;

 6.   Radhi Shetty’s Responses to Plaintiff’s First Set of Requests for

      Production;

 7.   Jay Shetty’s Responses to Plaintiff’s First Set of Interrogatories;

 8.   Jay Shetty’s Responses to Plaintiff’s First Set of Requests for

      Production;

 9.   100.co Global Holdings, LLC’s Responses to Plaintiff’s First Set

      of Interrogatories;

 10. 100.co Global Holdings, LLC’s Responses to Plaintiff’s First Set

      of Requests for Production;

 11. Tea Worldwide Inc.’s Responses to Plaintiff’s First Set of

      Interrogatories; and

 12. Tea Worldwide Inc.’s Responses to Plaintiff’s First Set of Requests

      for Production.




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     Respectfully submitted this 21st day of September , 2022.


                                          WEINBERG, WHEELER,
                                          HUDGINS, GUNN & DIAL, LLC

                                          /s/ William C. Buhay
                                          William C. Buhay
                                          Georgia Bar No. 093940
                                          Briana A. Burrows
                                          Georgia Bar No. 915353

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    RULE 7.1D CERTIFICATE OF TYPE, FORMAT, AND FONT SIZE

     Pursuant to Local Rule 7.1D of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, double-spaced between lines,

and used Times New Roman font of 14-point size.


                                      /s/ William C. Buhay_______
                                      William C. Buhay
                                      Georgia Bar No. 093940




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                         CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing                DEFENDANTS’

CERTIFICATE OF SERVICE OF DISCOVERY via CM/ECF, which will

automatically send notification to the following attorneys of record in this action:

                          Marcy L. Sperry
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                          Attorneys for Plaintiff

      This 21st day of September, 2022.

                                       WEINBERG, WHEELER,
                                       HUDGINS, GUNN & DIAL, LLC

                                       /s/ William C. Buhay
                                       William C. Buhay
                                       Georgia Bar No. 093940

                                       Counsel for Defendants Tea Worldwide,
                                       Inc., 100.co, Jay Shetty, Radhi Devlukia
                                       Shetty, Kim Perell, and James Brennan


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